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                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7
      N.C., individually and on behalf of A.C., a       CASE NO. 2:21-cv-01257-JHC
 8
      minor,
                                                        ORDER
 9
                             Plaintiff,
10
             v.
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      PREMERA BLUE CROSS,
12
                             Defendant.
13

14          This matter comes before the Court on Plaintiffs’ Motion in Support of an Award for

15   Attorney Fees and Costs. Dkt. # 77. In opposing the motion, Defendant says, among other

16   things, that the motion is untimely under Fed. R. Civ. P. 54(d)(2)(B)(i). Defendant is correct.

17   Judgment was entered on May 11, 2023 (Dkt. # 74), and Plaintiffs untimely filed the motion on

18   June 7. See id. (requiring filing no later than 14 days after entry of judgment). Further, Plaintiffs

19   neither sought an extension nor sought to show any excusable neglect. And Plaintiffs did not

20   submit a reply to address Defendant’s arguments. Accordingly, the Court DENIES the motion.

21          //

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23          //

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     ORDER - 1
             Case 2:21-cv-01257-JHC Document 79 Filed 06/26/23 Page 2 of 2




 1         Dated this 26th day of June, 2023.

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 4                                              John H. Chun
                                                United States District Judge
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